           Case 1:12-cr-00038-AWI-BAM Document 103 Filed 12/06/12 Page 1 of 3



 1 BENJAMIN B. WAGNER
   United States Attorney
 2 KAREN A. ESCOBAR
   Assistant United States Attorney
 3 2500 Tulare St., Suite 4401
   Fresno, CA 93721
 4 Telephone: (559) 497-4000
   Facsimile: (559) 497-4575
 5
   Attorneys for Plaintiff
 6 United States of America

 7

 8                              IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                                CASE NO. Cr 1:12-cr-00038 AWI-
                                                              DLB
12                                  Plaintiff,
                                                              STIPULATION REGARDING
13                  v.                                        EXCLUDABLE TIME PERIODS
                                                              UNDER SPEEDY TRIAL ACT;
14   JOSEPH EDWIN GABLE, et al.,                              FINDINGS AND ORDER
15                                  Defendants.
16
                                                  STIPULATION
17
             Plaintiff United States of America, by and through its counsel of record, and defendants
18
     JOSEPH EDWIN GABLE, VINCENT GRAVES, HERMAN GRAVES, DAMONE KELLEY, and
19
20 CATATEA JAMES, by and through their counsel of record, STEVEN CRAWFORD, JOHN

21 GARLAND, DANIEL HARRALSON, CARL M. FALLER, and ANTHONY CAPOZZI,

22 respectively, hereby stipulate as follows:

23
             1.      By previous order, this matter was set for a status conference on Monday, December
24
     10, 2012, at 1:00 p.m., in the absence of a stipulation setting the trial date.
25
             2.      By this stipulation, the parties now move to vacate the status conference date and set
26

27 the following:

28           Filing of motions in limine: 3/4/13
                                                          1
29

30
           Case 1:12-cr-00038-AWI-BAM Document 103 Filed 12/06/12 Page 2 of 3


            Filing of responses to motions in limine: 3/13/13
 1
            Hearing on in limine motions and trial confirmation: 3/18/13, 10 a.m.
 2

 3          Jury trial: 4/2/13, 8:30 a.m.

 4          3.      The parties agree and stipulate, and request that the Court find the following:
 5          a.      Counsel for the parties agree that an April 2 trial date accommodates the schedules of
 6
     all parties and provides sufficient time for trial preparation and further investigation.
 7
            b.      Based on the above-stated findings, the ends of justice served by continuing the case
 8
     as requested outweigh the interest of the public and the defendant in a trial within the original date
 9

10 prescribed by the Speedy Trial Act.

11          c.      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161, et

12 seq., within which trial must commence, the time period of December 10, 2013, to April 2, 2013,

13 inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) because it results from

14
     a continuance granted by the Court at the parties’ request on the basis of the Court's finding that the
15
     ends of justice served by taking such action outweigh the best interest of the public and the
16
     defendants in a speedy trial.
17

18          4.      Nothing in this stipulation and order shall preclude a finding that other provisions of

19 the Speedy Trial Act dictate that additional time periods are excludable from the period
20 within which a trial must commence.

21
     IT IS SO STIPULATED.
22

23 DATED:           December 6, 2012.       Respectfully submitted,

24                                          BENJAMIN B. WAGNER
                                            United States Attorney
25
26                                          /s/ Karen A. Escobar___________________
                                            KAREN A. ESCOBAR
27                                          Assistant United States Attorney

28
                                                         2
29

30
         Case 1:12-cr-00038-AWI-BAM Document 103 Filed 12/06/12 Page 3 of 3


     DATED:     December 6, 2012.
 1
                                    /s/ Steven Crawford _____________
 2                                  STEVEN CRAWFORD
                                    Counsel for Defendant Joseph Edwin Gable
 3 DATED:       December 6, 2012.
 4                                  /s/ John Garland _____________
                                    JOHN GARLAND
 5                                  Counsel for Defendant Vincent Graves
 6 DATED:       December 6, 2012.
 7                                  /s/ Daniel Harralson _____________
                                    DANIEL HARRALSON
 8                                  Counsel for Defendant Herman Graves
 9 DATED:       December 6, 2012.
10                                  /s/ Carl M. Faller _____________
                                    CARL M. FALLER
11                                  Counsel for Defendant Damone Kelley
12 DATED:       December 6, 2012.
13                                  /s/ Anthony Capozzi _____________
                                    ANTHONY CAPOZZI
14                                  Counsel for Defendant Catatea James
15

16

17

18
                                          ORDER
19
20 IT IS SO ORDERED.

21
       Dated:   December 6, 2012                                     /s/ Dennis L. Beck
22                                             UNITED STATES MAGISTRATE JUDGE
                                               DEAC_Signature-END:




23
                                            3b142a
24

25
26

27

28
                                                  3
29

30
